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                             UNITED STATES DISTRICT COURT
                             SO UTH ERN D ISTR ICT O F FLO R IDA

                       CA SE N O .:13-61373-C IV-SC O LY O TA ZO -R EY ES
                                  @ O.12-61984-CIV-SCOLA)
  D EBO RAH ELDRED GE,

        Plaintiff,



  EDCARE M ANAGEM ENT,INC.,
  a D elaw are corporation and
  H OSPITAL PH Y SIC IA N PARTNERS,
  IN C .,a D elaw are corporation,

        D efendants.
                                            /

                           ORDER AW ARDING FEES AND COSTS

        THIS CAU SE cam e before the Courtupon the A ffdavitof B arry Pollack in Supportof

  Defendants EDCre M anagement, lnc.C$EDCare'') and Hospital Physician Partners, lnc.'s
  (ç$HPP'') (collectively,tsDefendants'')Request for an Award of Attorneys'Fees and Costs
  Ptlrsuantto OrderDated M arch 31,2015 (hereafter,StAffidavif')(D.E.192J;and Supplemental
  Affidavit(D.E.2271(together,EsAftidavits'').Thesematterswerereferredtotheundersignedby
  theHonorableRobertN.Scola,Jr.,United StatesDistrictJudge,pursuantto 28 U.S.C.j636

  (D.E.128). The undersigned held a hearing on these matterson October 19,2016. Forthe
  reasons stated below,the undersigned ORDERS thatDefendantsshallrecoverattorneys'fees in

  the amount of $414,910.52 and costs in the amount of $7,522.78, for a total award of

  $422,433.30.
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                                         BAC K G RO UN D

         On September12,2012,PlaintiffDeborah Eldredge(tdplaintiff'orçsEldredge'')brought
  claim s for overtim e and unpaid leave tim e againstDefendants in state court,which case was

  removed and assigned CaseNo.12-61984-CIV-SCOLA (hereafter,ttcase 12-61984''orEtFLSA
  Case'')(Case 12-61984,D.E.1;Ex.2j. On June20,2013,Eldredgebroughta separateaction
  msserting claims for age and gender discrimination against Defendants (hereafter,
  tr iscriminationCase'')(D.E.11.OnNovember20,2013,theCourtconsolidatedtheFLSA Case
  withtheDiscriminationCasegcase 12-61984,D.E.106J.
         O n August 8,2013,D efendants filed a M otion for Sanctions in the FLSA Case against

  Eldredge and hercounsel,Amlong & Amlong,P.A.(hereafter,içAmlong Fin'
                                                                     n''l,arguing that
  Eldredgehad stolen documentsfrom them gcase 12-61984,D.E.311. On November7,2013,
  MagistrateJudgeLuranaS.Snow deniedtheM otion forSanctionswithoutprejudice.SeeOrder
  (Case12-61984,D.E.921.1
         On February 14,2014,Defendants filed a Renewed M otion for a Sanctions Hearing,

  Based on Plaintiffs M assive Theftof Confidential lnform ation from Defendants,her Plan to

  Blackm ail their Executives, and her Concealment of these M aterials During Discovery

  (hereafter,dsRenewed M otion forSanctions'),arguing thatEldredge had failed to producethe
  allegedlystolendocuments(D.E.351.
         O n A ugust 26, 2014, D efendants supplem ented their R enew ed M otion for Sanctions

  (hereafter,tssupplement to Renewed M otion for Sanctions'') to seek sanctions against the
  AmlongFirm pursuantto28U.S.C.j 1927(hereafter,Stsection 1927'')andtheCourt'sinherent
  powers(D.E.1381.

  1 The Courthad referred the M otion forSanctionsto M agistrate Judge Snow fordisposition (Case 12-
  61984,D.E.384.
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         On July 22,2014,the Am long Firm filed a M otion to W ithdraw asCounsel,which the

  Courtgranted onAugust12,2014 (D.E.113 & 1341. On September8,2014,Eldredgefiled a
  NoticeofIntenttoProceedProSekD.E.1391.
         On Decem ber8,2014,Defendantsand Eldredge notitied the Courtthatthey had reached

  asettlementagreement(D.E.1691.On December10,2014,theCourtentered aConsentOrder
  and Judgment whereby the case was dismissed with prejudice with the Court to retain
  jmisdiction to adjudicate Defendants'Renewed M otion for Sanctions as itpertained to the
  AmlongFirm (D.E.170j.
         On M arch 2,2015,the undersigned held an evidentiary hearing on theRenewed M otion

  forSanctionsasto theAmlong Finn (D.E.1872. On M arch 31,2015,the undersigned granted
  Defendants' Renew ed M otion for Sanctions, concluding that D efendants w ere entitled to

  tsrecoverfrom the Am long firm theirreasonable feesand costsincurred in the FLSA caseand the

  Discriminationcase,''pursuantto Section 1927andtheCourt'sinherentpowers(D.E.188at43-
  441. The undersigned instructed Defendantsto submittheir affidavitofreasonable feesand
  costs. Id.at44.

         On April22 and August 14,2015,Defendants field theirAffidavitsoffeesand costsfor

  Pollack Solomon Duffy, LLP (hereafter, dtpollack FinzP'l,the law firm of Roger Towers
  (hereafter,iélkoger Towers Finu''),and Shutts & Bowen,LLP (hereafler,Stshutts & Bowen
  Firm''l(D.E.192& 2271.OnOctober16,2015,DefendantsfiledtheirNoticeofFilingAttorney
  TimeEntries(hereafter,Sûlnvoices'')(D.E.246j.
        On M ay 5 and May 21,2015,the Amlong Firm filed Objectionsand Response to the
  undersigned's Order Granting Defendants' Renewed M otion for Sanctions (DE 188),and
  RequestforDeNovoReview andHearing;andCorrectedObjectionsand Response(D.E.197 &
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  2051.OnJuly30,2015,theCourtaffirmedtheundersigned'simposition ofsanctionsagainstthe
  Am long Firm , ttw ith the slight caveat that sanctions be im posed from O ctober 29, 2012

  forwardi''andoverruledtheAmlongFirm 'sobjections@D.E.2261.
         On September 19,2015,the Amlong Firm filed its Response and Objections by the
  Amlong Firm in Opposition to Defendants'Affidavits (hereafter,tfResponse to Affidavits''),
  objecting to the amountoffeesand costs soughtby Defendants and arguing thatan amount
  between $100,000.00 and $200,000.00 would be reasonable (D.E.232). In supportofits
  objections,the Amlong Finn submitted the Declaration ofG.W are ComellPursuantto 28
  U.S.C.j 1746,Submitted in Opposition to Defendants'M otion forAttorney'sFees(hereafter,
  ClcornellDeclaration'') (D.E.2361. The CornellDeclaration stated thatDefendants'feesand
  costs submissions did not comply with LocalRule 7.3,and thatDefendants'hourly rates and

  numberofhoursbilled werenotreasonable. Id.at4-27.

         On October19,2016,theundersignedheldahearingontheAffdavits(D.E.2491.Atthe
  hearing,the undersigned directed the Am long Firm to file a supplem entalbrief explaining its

  objectionstothefeesandcostssought,anddirected Defendantsto filearesponse. On October
  29,2016,the Am long Firm filed itsN otice ofFiling Supplem entalInform ation Requested by the

  CourtDuringOctober19,2016Hearing(hereafter,Sfsupplementallnformation'')(D.E.250).On
  November4,2016,DefendantsfiledtheirResponseto SupplementalInformation (D.E.2541.
        Defendantsrequestthefollowing am ountsasfeesand costs:

                          Ro erTowersFirm                $126,964.61
                          Pollack Firm                   $383,836.15
                          Shutts& Bow en Firm            $123,093.65
                                   Total                 $633,894.41

  SeeAffidavitsED.E.192 & 2271.Thecostsshowninthelaw finns'Invoicesare:


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                           Ro erTowersFirm                     $7,620.76
                           Pollack Firm                       $23,880.48
                           Shutts& Bowen Firm                 $10,689.45
                                    Total                     $42,190.69

  SeeInvoices(D.E.246Ex.1-51.Thus,Defendants'feesrequestsare:
                           Ro erTowersFirm                  $119,343.85
                           Pollack Firm                     $359,955.67
                           Shutts& Bow en Firm              $112,404.20
                                    Total                   $591,703.72

                                          D ISCU SSIO N

          The Amlong Firm argues thata monetary award ûsin the range of$100,000.00 butnot

  exceeding $200,000.00, is both reasonable and not unfairly penal,'' and supplemented its

  argumentswith the CornellDeclaration. SeeResponseto Affidavits(D.E.232 at2,81;Cornell
  Declaration (D.E.2361. However,theundersigned givesno weightto theCornellDeclaration.
  TheundersignedaddressestheAmlongFirm'sargumentsandobjectionsinturn.
     1.      LocalR ule 7.3

          The A m long Firm argues thatD efendants'A ffidavits failed to com ply w ith Local Rule

  7.3. SeeResponseto Affidavits(D.E.232 at4).TheAmlongFirm arguesthattheprocedural
  requirements of LocalRule 7.3(a) apply to sanctions motions,citing to In re Bankatlantic
  Bancorp.lnc.Securities Litigation,851 F.Supp.2d 1299 (S.D.Fla.2011),and the Cornell
  Declaration. See Executive Summary ofAmlong Objectionsto Defendants'Costs (hereafter,
  çtobjectionsto Costs'')(D.E.250-1at1n.11.
          H owever, Local Rule 7.3 applies to ttm otions for attorneys fees and/or non-taxable

  expensesand costs.'' SeeS.D.Fla.L.R.7.3(a). M oreover,unlike in lnre Bankatlantic,where
  the Courtinstructed the prevailing party in a Rule 11 sanctions m otion to subm it a fee petition

  that ttmust set forth the infonnation described in and otherwise comply with Local Rule


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  7.3(a)(3)-(7),''here,theundersigned directed Defendantsto tssubmittheiraffidavitofreasonable
  fees and costs.'' Com pare ln re Bankatlantic,851 F. Supp.2d at 1324, w ith Order G ranting

  Defendants'Renewed Motion for Sanctions(D.E.188 at44j. Thus,LocalRule 7.3 doesnot
  supporttheAmlongFirm'sobjection.
       I1.      Attorneys'Feesfor the R oger Tow ersFirm

             Asnoted above,thefeesrequestfortheRogerTowersFirm is$119,343.85.TheAmlong

  Firm objectstothefollowingholzrsbilledbytheRogerTowersFirm:
                    Objection                 Objected-to      Blended Hourly          Amount
                                                 Hours        Rate,Rounded $         Ob'ected to
   Clerical                                            83.4                  283       $23,587.00
   Excessivetimetoprepare                              17.8                  252        $4,497.00
   answer/affirm ativedefenses,responseto
   statementofclaim
   Excessivetim etoprepare scheduling                  10.5                   259       $2,729.00
   re ortand discover 1an
   Excessivetim eforpreparation ofRule                22.1                   28l        $6,213.00
   26 disclosure
   Excessivetimetoprepare for/take                     60.2                   268      $16,111.00
   Plaintiffsde osition
   Excessivetim etoprepare for/take                    12.0                   305       $3,660.00
   de osition ofSusan Greco
   Excessivetim efor/takedeposition of                 18.3                   305       $5,581.50
   David Schillin er
   Excessivetim eon motion forsumm ary
   '
                                                      44.9                   238       $5,236.00
    ud ment
   Remainin tim e,assumed to be intlated              120.7                  274        $8,367.17
                  Total                                                                $75,981.67

  SeeExecutiveSummary ofFeesClaimed,Objectionsand Allowed Fees(hereafter,ttobjections
  toFees'')(D.E.250-2at3-51.



  2The $5)'236.00 figure isthe resultofa computationalerror. The 44.9 objected-to hoursata bl
                                                                                            ended
  hourlyrateof$238amountsto $10,686.20.
  3The Am long Firm argues thatthe rem aining 120.7 hours should be reduced by the average reduction
  factorfortheobjected-to hoursof25.3%,whichamountsto $8,367.17. SeeObjectionstoFees(D.E.
  250-2 at4-51.
                                                  6
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             Theundersigned agreeswith the Am long Firm thatthe 83.4 hoursbilled forclericalwork

  are notrecoverable. Therefore,$23,587.00 isdeducted from the Roger Towers Firm 's feesof

  $119,343.85 foran adjustedtotalof$95,756.85. Applying herown knowledgeand experience
  concerning reasonable and proper fees,the undersigned finds itappropriate to furtherreduce that

  amount by 25% for a final fees award of $71,817.64. See Norm an v. Hous. Auth. of

  M ontgomery,836 F.2d 1292,1303 (11th Cir.1988) (td-l-
                                                      hecourt...isitselfan experton the
  question and m ay consideritsown knowledge and experienceconcem ing reasonable and proper

  feesand may form an independentjudgmenteitherwith orwithoutthe aid ofwitnessesasto
  Ar1t1t1(,.'5)
        111.      Attorneys'Feesforthe Pollack Firm and Shutts& Bowen Firm

            Asnoted above,the feesrequestsforthe Pollack Firm is $359,955.67 and forthe Shutts

  & Bowen Firm is $112,404.20,for atotalof$472,359.87. The Amlong Firm objects to the
  following hoursbilled by thePollack Firm and Shutts& Bowen Firm :

                        Objection                    Objected-to   Blended    Amount
                                                       Hours     HourlyRate, Objected to
                                                                   Rounded $
   Vaguebilling entries,including block billed            254.5             437   $111,238.00
   timewithva ueentrieswith notim e uantified
   Clericaltim e,includingblock billed entries             37.72            336     $12,687.70
   w ith un ualitied clericaltim e
   Excessive tim espenton m otion forsum mary
   '
                                                            57.3            456     $26,089.50
    ud m entin the FLSA case
   Du licativebillin entriesand work                         6.5            341      $2,215.00
   Overstaffing forhearing on firstsanctions                 5.3            465      $2,464.50
   motion(Jud eSnow hearin )
   Excessivetim eforlocalcounselCtm onitoring''             14.3            324      $4,789.50
       riorto Am lon w ithdraw al
   Excessivetime forlocalcounseldçmonitoring''               3.1            310       $961.00
   durin liti ation ofthird sanctionsm otion
   Postwithdrawaltimenotrelated to Am lon                    76             392    $29,826.00




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   Rem ainin time                                          803.3              383    $147,678.67
                        Total                                                        $337,949.87

  SeeObjectionstoFees(D.E.250-2at5-81.
          The undersigned agreeswith the Amlong Finn that37.72 hoursforclericalwork and 6.5

  hours for duplicative work are not recoverable. Therefore,the corresponding amounts of

  $12,687.70 and $2,215.00 are deducted from the Pollack Firm and the Shutts& Bowen Firm 's

  feesof$472,359.87 foran adjusted totalof$457,457.17. Applying herown knowledge and
  experience concerning reasonable and proper fees,the undersigned finds itappropriate to further

  reduce that amotmtby 25% for a finalfees award of$343,092.88. See N onnan,836 F.2d at

  1303.

          A ccordingly,the undersigned finds that a total attorneys' fees aw ard in the am ount of

  $414,910.52 isreasonableand recoverableby thethreelaw firm s.

     IV .    C osts

          TheAmlong Firm objectsto entriestotaling$22,121.18asvaguebecausethedetailsfor
  those entries were redacted; and objects to $11,821.73 for cost entries with insufticient
  infonnation. See Objections to Costs (D.E.250-1 at 1). The undersigned agrees with the
  AmlongFinn thatthesecostsarenotrecoverable.

          TheAmlong Finn nextobjectsto $725.00 forservice ofprocess fees in excessofthe
  statutorymarshal'sfeeof$65persubpoena.J.I.
                                           L TheundersignedagreeswiththeAmlongFirm
  thatthesecostsare notrecoverable. SeeE.E.O.C.v.W &O.Inc.,213 F.3d 600,624 (11th Cir.
  2000) (holding thatprivate process servers that do notexceed the statutory marshal's fees



  4 The Am long Finn argues that the rem aining 803.3 hours should be reduced by a factor of 48%
  (representing the average reduction factorofthe objected-to hours notcompletely eliminated),which
  amountsto$147,678.67. SeeObjectionstoFees(D.E.250-2at7-81.
                                                 8
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  authorizedunder28U.S.C.j1921arerecoverable);seealso28C.F.R.j0.114(a)(3)(thecurrent
  marshal'sfeeis$65perhourforeachitem served).
         Accordingly, the undersigned deducts the amounts of $22,121.18, $11,821.73 and

  $725.00from the$42,190.69costsrequest,foranadjusted costsawardof$7,522.78.
                                       C O N C LU SIO N

        Bmsedon theforegoing considerationssitis

         ORDERED AND ADJUDGED that Defendants SHA LL RECOVER from the Amlong

  Firm ,pursuantto Section 1927 and the Court's inherentpowers,the following reasonable fees

  and costsincurred in the FLSA Case andthe Discrim ination Case:

                                 Attorne s'fees $414,910.52
                                 Costs            $7,522.78
                                     Total        $422,433.30

        DONE AND ORDERED in Cham bersatM iami,Fl
                                                                     +
                                               oridasthis2 ? dayofMarch, 2017.

                                                          .'   l

                                                   A LICIA M .O TA ZO-RE ES
                                                   UN ITED STA TES M A GISTM TE JUD GE

  cc:   United StatesD istrictJudge RobertN .Scola,Jr.
        CounselofRecord

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        500N E 4th Street2nd Floor
        FortLauderdale,FL 33301-1154




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